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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
  IN RE: David Napoliello and Jennifer
  Napoliello                                         BANKRUPTCY CASE NUMBER
         Debtors.                                    1$-18254/MDC

  Nationstar Mortgage LLC d/b/a Mr. Cooper           CHAPTER 7
        Movant,
  v.                                                 11 U.S.C.   §   362

   David Napoliello and Jennifer Napoliello          January 30, 2019 at 10:30 AM
         Debtors/Respondents.
                                                     Courtroom # 2
   Terry P. Dershaw, Trustee
         Additional Respondent.
                                              ORDER

          AND NOW, this (6 day of               fl1          . 2O-1-8at the Eastern District of
  Pennsylvania, upon the consideration   of the Motioii’of Movant  for Relief from the Automatic
  Stay (the “Motion”), and the failure of Debtors to file an answer, appear or otherwise respond to
  the Motion, and for good cause shown, it is

           ORDERED AND DECREED that the Automatic Stay of all proceedings, as provided
  under Section 362 of the Bankruptcy Abuse Prevention and Consumer Protection Act of 2005
  (the “Code”), 11 U.S.C. § 362, is lifted to allow Movant, or its successors, if any, to proceed with
  its rights under its loan documents for the property located at 30 North Ridgeway Avenue,
  Glenolden, PA 19036; and it is

         FURTHER ORDERED that Rule 400 1(a)(3) is not applicable and Movant, or its
  successors, if any, may immediately implement this order.



                                                BY THE COURT:



                                                HO1J{ABLE MAGDELINE D. COLEMAN
                                                UNITED STATES BANKRUPTCY JUDGE
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